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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


    JEREMY JACKSON,                               No. 4:18-CV-01378

                  Plaintiff,                      (Judge Brann)

         v.

    CONSUMER ADVOCACY
    CENTER, INC.,

                  Defendant.

                                     ORDER

                               FEBRUARY 26, 2019

        On July 11, 2018, Jeremy Jackson filed a Complaint against the Consumer

Advocacy Center, Inc.1 On January 21, 2019, the Consumer Advocacy Center

indicated that it had bankruptcy petition pending before the United States

Bankruptcy Court for the Southern District of Florida.2

        Therefore, pursuant to 11 U.S.C. § 362, IT IS HEREBY ORDERED that the

above-captioned matter is STAYED. The parties SHALL FILE a status report on

the bankruptcy proceedings every 60 days.

                                             BY THE COURT:


                                             s/ Matthew W. Brann
                                             Matthew W. Brann
                                             United States District Judge

1
     ECF No. 1.
2
     ECF No. 15.
